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                                         In the

            United States Court of Appeals
                          For the Seventh Circuit

           No. 09-3267

           D ARYL M URPHY,
                                                             Plaintiff-Appellant,
                                             v.

           E DDIE M URPHY P RODUCTIONS,
           INCORPORATED , et al.,

                                                          Defendants-Appellees.


                        Appeal from the United States District Court
                   for the Northern District of Illinois, Eastern Division.
                         No. 1:08-cv-05170—John W. Darrah, Judge.



                   A RGUED A PRIL 12, 2010—D ECIDED JULY 1, 2010




             Before C UDAHY, P OSNER, and E VANS, Circuit Judges.
             E VANS, Circuit Judge. This is an appeal from the dis-
           missal of the third lawsuit that Plaintiff Daryl Murphy
           has brought against the same group of defendants
           arising out of the same set of events. It deals with
           whether the district court properly denied a motion for
           an extension of time to file an amended complaint. In
           order to resolve the current appeal we must first sort
           through a fairly complicated procedural history.
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             Eddie Murphy, a former cast member on Saturday Night
           Live, is a multi-talented comedian, actor, singer, director
           and producer. On SNL, he played several memorable
           characters including Buckwheat, Mr. Robinson, Professor
           Shabazz K. Morton, and Gumby. On film, he’s played
           dozens of characters including a clever Detroit detective
           (Axel Foley) in Beverly Hills Cop, a street hustler (Billy
           Ray Valentine) who outsmarts a pair of Wall Street high
           rollers in Trading Places, and an R & B singer (James
           “Thunder” Early) backed by a trio of females who ulti-
           mately leave him behind in Dreamgirls. Murphy also
           was the voice of the donkey in the Shrek movies. He is
           the namesake of one of the defendants in this case,
           Eddie Murphy Productions, Inc. The other defendants
           are Will Vinton-Freewill Entertainment, Inc., Touchstone
           Television Productions LLC, Fox Broadcasting Co., Inc.,
           Warner Bros. Television, Inc., and Harpo Productions,
           Inc. (collectively, Defendants). In 2004, Daryl Murphy (no
           relation to Eddie) brought this suit claiming that the
           defendants used copyrighted material from his video-
           tape to create and later broadcast the animated televi-
           sion show The PJs which aired for three years on Fox
           and the WB. Eddie Murphy provided the voice for the
           protagonist of the show, Thurgood Stubbs, who served
           as the superintendent of the Lawrence Hilton-Jacobs
           housing projects. The PJs won three Emmy Awards.
             Two years after the suit was filed, the defendants moved
           for summary judgment. As part of their summary judg-
           ment submission, the defendants submitted videotapes
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           of episodes of The PJs and two copies1 of Murphy’s video-
           tape. In response to the summary judgment motion,
           Murphy submitted a comparison DVD with pieces of
           his videotape juxtaposed against portions of episodes
           from The PJs. In his Local Rule 56.1 response Murphy
           admitted that Defendants’ Exhibit A-1 was a true and
           correct copy of his videotape. The district court granted
           summary judgment to the defendants after viewing
           Murphy’s comparison DVD on three independent
           grounds: (1) the two works were not substantially sim-
           ilar; (2) there was no evidence that the defendants had
           access to the videotape; and (3) there was uncontradicted
           evidence of prior creation. Murphy, acting pro se, moved
           for reconsideration because his court-appointed attorney
           only submitted one of five compact disks that showed
           various comparisons. The district court denied his
           motion to reconsider and his appeal was dismissed.
             During the pendency of the appeal of the first suit,
           Murphy filed another complaint against the defendants,
           making claims arising out of the same events at issue in
           the first suit. The district court promptly dismissed the
           suit as res judicata.
             In October 2008, Murphy filed this suit pro se against
           the defendants and others as a Rule 60 motion. Shortly
           thereafter, Murphy retained counsel who withdrew the
           Rule 60 motion and asked for leave to file an amended


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             They submitted two copies because the copy they received
           in discovery (Exhibit A) was different from the copy they
           received from the Copyright Office (Exhibit A-1).
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           complaint. The district court gave Murphy until April 24,
           2009 to file an amended complaint, and the deadline was
           not met. At a hearing on April 30, Murphy’s attorney
           requested additional time to file the amended complaint.
           The district court extended the deadline until June 1.
           Murphy’s attorney once again failed to meet the deadline.
           Instead of filing an amended complaint on June 1, he
           filed a motion on June 5 seeking 60 additional days. He
           claimed to need more time to determine whether the
           defendants had committed fraud in Murphy’s first suit,
           most notably by submitting blank DVDs—instead of
           DVDs showing Murphy’s original work. The district
           court denied Murphy’s extension and dismissed the
           case with prejudice in part because he missed two court-
           ordered deadlines, but also because amendment would
           have been futile. It is this order from which Murphy
           brings the present appeal.
             The issue is whether the district court properly denied
           Murphy’s motion for an extension of time to file an
           amended complaint. Extensions are governed by Rule 6
           of the Federal Rules of Civil Procedure, which sets
           separate standards for motions filed before and after
           the original deadline. A motion filed before the dead-
           line may be granted “for good cause,” a motion made
           after the time has expired may be granted only if “the
           party failed to act because of excusable neglect.” Fed. R.
           Civ. P. 6(b)(1)(A)-(B). The district court evaluated
           Murphy’s request under the latter standard because he
           made his request four days after the deadline had passed.
           We review the district court’s order using a deferential
           abuse of discretion standard.
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              The Supreme Court in Pioneer Investment Services Co. v.
           Brunswick Associates Ltd. Partnership, 507 U.S. 380, 395
           (1993) listed the factors a district court should consider
           when evaluating a claim of excusable neglect, which
           include the danger of prejudice to the defendant, and
           the reason for the delay. In this case, both factors cut
           against granting the time extension. The defendants
           would suffer prejudice from delaying the resolution of
           this case (recall, the dispute first got off the ground in
           2004!) for another 60 days. The district court already
           granted one extension. The defendants won summary
           judgment in February of 2007 and yet the case still
           lingers over three years later. Furthermore, Murphy
           has never identified a valid reason for his delay. He
           claims not to have learned about the blank videotapes
           until late in the proceedings. If this is true, the blame
           lies with him because he was served with the defen-
           dants’ summary judgment motion—which included the
           exhibits—in 2006 on the same day they were filed in
           the district court. Therefore, the district court was well
           within its discretion to deny Murphy’s motion because
           he did not the miss the court-ordered deadline due
           to excusable neglect.
             The futility of Murphy’s proposed amendment serves
           as an additional, independent ground for refusing to
           enlarge the time for him to file his amended pleading.
           See Campania Management Co., Inc. v. Rooks, Pitts & Poust,
           290 F.3d 843, 848-49 (7th Cir. 2002) (“[C]ourts in their
           sound discretion may deny a proposed amendment if
           the moving party has unduly delayed in filing the
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           motion, if the opposing party would suffer undue preju-
           dice, or if the pleading is futile.”). In order to succeed in
           his motion, Murphy would have to prove by clear
           and convincing evidence that his copyright claim was
           meritorious, and that because of fraud, he was prevented
           from fully presenting his case. Provident Savings Bank
           v. Popovich, 71 F.3d 696, 699 (7th Cir. 1995).
             Factually, it appears impossible for Murphy to prove
           what he alleges, and even if he did, it wouldn’t amount
           to fraud. If the defendants submitted blank videotapes,
           there still would not be grounds for relief because the
           district court made clear that it reached its decision
           based on the comparison DVD submitted by Murphy.
           Furthermore, if the defendants did in fact submit blank
           videotapes, in all likelihood, the district court would
           have requested replacement materials or denied the
           summary judgment motion for lack of proof. As further
           evidence of fraud, Murphy claims that the signature of
           one affiant, Mike Mendel, may be forged and his
           affidavit is inconsistent with other evidence. Murphy
           offers no evidence of forgery—aside from his claim that
           the signature looks different—and any inconsistency in
           the text of the document would have been clear to the
           district court when it was deciding the motion for sum-
           mary judgment. Most bizarrely, Murphy’s final evidence
           of fraud is that another affiant, Colin Batty, is not a
           citizen of the United States and used inconsistent styles
           for recording dates. While these things may be true, it’s
           not clear how they could be fraud on the court since
           they are apparent from the affidavit itself.
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             For these reasons, the judgment of the district court is
           A FFIRMED.




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